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    1 Ekwan E. Rhow - State Bar No. 174604
         erhow@birdmarella.com
    2 Marc  E. Masters - State Bar No. 208375
         mmasters@birdmarella.com
    3 Kate S. Shin - State Bar No. 279867
         kshin@birdmarella.com
    4 Christopher J. Lee - State Bar No. 322140
         clee@birdmarella.com
    5 BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
      DROOKS, LINCENBERG & RHOW, P.C.
    6 1875 Century Park East, 23rd Floor
      Los Angeles, California 90067-2561
    7 Telephone: (310) 201-2100
      Facsimile: (310) 201-2110
    8
      Attorneys for Defendant Samsung
    9 Electronics Co., Ltd.
   10
   11                         UNITED STATES DISTRICT COURT
   12           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   13
   14 NETLIST INC., a Delaware                        CASE NO. 8:20-cv-00993-MCS-DFM
      corporation,
   15                                                 REDACTED
                   Plaintiff,                         DEFENDANT SAMSUNG
   16                                                 ELECTRONICS CO., LTD.’S
            vs.                                       NOTICE OF MOTION AND
   17                                                 MOTION FOR JUDGMENT ON
      SAMSUNG ELECTRONICS CO.,                        THE PLEADINGS
   18 LTD., a Korean corporation,
                                                      Date: July 26, 2021
   19                 Defendant.                      Time: 9:00 a.m.
                                                      Crtrm.: 7C
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                                                      Assigned to Hon. Mark C. Scarsi
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    1                                     NOTICE OF MOTION
    2               TO ALL PARTIES AND THEIR COUNSEL OF RECORD:PLEASE TAKE
    3 NOTICE that on July 26, 2021, at 9:00 a.m., or as soon thereafter as this matter may
    4 be heard, in Courtroom 7C of the United States District Court for the Central
    5 District of California, located at 350 W. 1st Street, Los Angeles, CA 90012,
    6 Defendant Samsung Electronics Co. Ltd. will, and hereby do, move pursuant to
    7 Federal Rule of Civil Procedure 12(c) for judgment on the pleadings as to the First,
    8 Second, and Third Causes of Action of Plaintiff Netlist Inc.’s First Amended
    9 Complaint.
   10               This motion is based on this Notice of Motion, the accompanying
   11 Memorandum of Points and Authorities, the Request for Judicial Notice and
   12 accompanying exhibits, the pleadings and papers on file in this matter, and such
   13 other matters as may be presented to the Court at the hearing.
   14               This motion is made following a conference of counsel pursuant to Local
   15 Rule 7-3, which took place on June 8, 2021. (Declaration of Christopher J. Lee ¶ 2).
   16 Pursuant to the Court’s direction, the Parties also conferred further on scheduling on
   17 June 17-18, 2021. (Id. ¶ 3).
   18
   19 DATED: June 21, 2021                      Ekwan E. Rhow
                                                Marc E. Masters
   20
                                                Kate S. Shin
   21                                           Christopher J. Lee
                                                Bird, Marella, Boxer, Wolpert, Nessim,
   22
                                                Drooks, Lincenberg & Rhow, P.C.
   23
   24
   25                                           By:
                                                                  Ekwan E. Rhow
   26
                                                      Attorneys for Defendant Samsung
   27                                                 Electronics Co., Ltd.
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.     INTRODUCTION
    3        This lawsuit is nothing more than a bald-faced scheme by Netlist, Inc.
    4 (“Netlist”) to unilaterally terminate a fairly bargained-for contract, so that it may
    5 reap an unjust windfall by forcing renegotiation of new terms. On November 12,
    6 2015, Netlist and Samsung Electronics, Co., Ltd. (“Samsung”) – two experienced,
    7 sophisticated actors in the semiconductor industry – entered into a Joint
    8 Development and License Agreement (the “JDLA”) to further their mutual interest
    9 by collaborating on joint development of memory modules, and grant each other
   10 licenses for certain intellectual property. Their business relationship under the JDLA
   11 continued without controversy for several years, before Netlist decided that it no
   12 longer wanted to be bound by the very terms of its own bargain. Now Netlist is
   13 using this litigation as leverage to terminate the JDLA.
   14        In a clear demonstration of cherry-picking, Netlist has scoured the text of the
   15 JDLA to craft pretextual breaches tied to conduct that transpired many years ago, in
   16 an effort to terminate the agreement well ahead of its mutually-intended natural term
   17                                              (RJN Exh. A § 13.1; p. 4). Netlist has
   18 raised two unfounded claims for breach of contract in its First Amended Complaint
   19 (“FAC”). Both are without merit, and therefore, the FAC should be dismissed in its
   20 entirety as a matter of law.
   21        First, while there is no supply obligation owed by either party under the
   22 JDLA, Netlist nonetheless makes unfounded allegations that Samsung breached its
   23 obligations under the JDLA in 2018 by failing to supply all products demanded by
   24 Netlist
   25
   26                                                                The JDLA contains no
   27 supply obligation of any kind, and such an obligation cannot be written into it in
   28 contravention of its plain language. See Vermont Teddy Bear Co., Inc. v. 538
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    1 Madison Realty Co., 1 N.Y.3d 470, 475 (N.Y. 2004) (“Courts may not by
    2 construction add or excise terms, nor distort the meaning of those used and thereby
    3 make a new contract for the parties under the guise of interpreting the writing”) 1.
    4 Moreover, because there is no explicit quantity term in Section 6.2, even if the Court
    5 were to write in a supply obligation, it could only be an obligation to supply all of
    6 Netlist’s requirements. To interpret the JDLA to be a requirements contract, which
    7 is the only way the Section 6.2 cause of action could survive this motion, would be
    8 contrary to law. Exclusivity is a prerequisite for requirements contracts, and the
    9 JDLA                                (RJN Exh. A §§ 6.3-6.4); see Corning Inc. v.
   10 VWR Intern., Inc., 2007 WL 841780, at *6 (W.D.N.Y. March 16, 2007) (exclusivity
   11 necessary for requirements contracts) 2.
   12         Second, Netlist’s baseless allegation that Samsung breached the JDLA in
   13 2015 by withholding 16.5% of a $8 million contractual payment relies on an
   14 erroneous legal conclusion completely unsupported by factual allegations: that the
   15 “$8 million payment to Netlist was not properly taxable in Korea.” (Dkt. No. 18-2 ¶
   16 16). The JDLA explicitly states that
   17                                                                (RJN Exh. A § 3.2).
   18 Netlist cannot allege what Korean law Samsung violated by withholding taxes,
   19 because Samsung had a legal basis for its withholding at the time it was made: a
   20 foreign company without a domestic base of operations in Korea, like Netlist,
   21 nevertheless owes taxes on payments for the transfer of “patent rights . . . [or]
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   25                               (RJN Exh. A § 14).
        2
   26      In addition, the First Breach of Contract Claim impermissibly seeks
      consequential damages,                                              . (RJN Exh. A §
   27 3.2).
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    1 information and know-how[.]” (RJN Exh. B art. 93, subpara. 8) 3. Therefore,
    2 Samsung lawfully withheld            and transmitted it to the Korean National Tax
    3 Service.
    4         Third, even if Netlist could allege material breaches of the JDLA, its attempt
    5 at early termination is invalid. Both purported breaches occurred several years ago,
    6 and Netlist has already elected to continue on with the contract despite them.
    7 Allowing Netlist “to now terminate the [JDLA] based on breaches that occurred . . .
    8 years ago would violate important principles of contract law.” ESPN, Inc. v. Office
    9 of Com'r of Baseball, 76 F. Supp. 2d 383, 391-92 (S.D.N.Y. 1999) (holding that
   10 attempted termination was invalid based on the doctrine of election.)
   11         As each of Netlist’s claims are fully preempted by operation of law,
   12 additional efforts to amend would be futile. Netlist’s legally deficient and pretexutal
   13 claims are nothing more than a vehicle for its scheme to seek early termination of
   14 the JDLA, so that it may extract an undeserved windfall from Samsung at the
   15 negotiating table. Netlist should not be permitted to further waste the time and
   16 resources of both parties and the Court with its thinly-veiled gamesmanship.
   17 Accordingly, the Court should grant judgment on the pleadings in Samsung’s favor
   18 without leave to amend.
   19 II.     FACTUAL AND PROCEDURAL BACKGROUND
   20         A.    The Joint Development and License Agreement
   21         Samsung is a company based in South Korea that manufactures and sells
   22 NAND and DRAM products. Netlist is a California-based company that for the past
   23 20 years has designed, manufactured, and sold memory modules – many of which
   24 utilize NAND and DRAM products – to customers worldwide. On November 12,
   25
   26   3
           Beobinsaebeob [Corporate Tax Act], Act No. 11758, amended December 31,
   27 2018, available at
   28 https://elaw.klri.re.kr/kor_service/lawView.do?hseq=49689&lang=ENG
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    1 2015, Samsung and Netlist entered into the JDLA, and formed a business
    2 relationship where the Parties would, among other things, collaborate to jointly
    3 develop memory modules, and grant each other licenses for certain intellectual
    4 property. Thereafter, this business relationship continued productively and without
    5 controversy for more than four years until May 2020, when Netlist unilaterally
    6 decided that the terms of the JDLA were no longer to its liking and commenced this
    7 litigation as leverage for renegotiation of the contract.
    8               On May 28, 2020, Netlist filed its complaint in this action in the U.S. District
    9 Court for the Central District of California, (Dkt. No. 1), and a First Amended
   10 Complaint (“FAC”) on July 22, 2020. (Dkt. No. 18-2). The FAC alleges three
   11 claims against Samsung: (1) a breach of contract claim based on Samsung’s alleged
   12 failure to supply Netlist with NAND and DRAM products                             (Id. ¶¶ 25-
   13 29); (2) a breach of contract claim based on Samsung’s tax withholding for a
   14                                        , (Id. ¶¶ 30-34); and (3) a declaratory relief claim for
   15 termination of the JDLA based on the two alleged breaches. (Id. ¶¶ 35-41).
   16               B.    Netlist’s First Breach of Contract Claim
   17               Netlist alleges that Samsung breached Section 6.2 of the JDLA by failing to
   18 supply Netlist with products                       (Dkt. No. 18-2 ¶¶ 25-29). Section 6.2
   19 provides, in relevant part, as follows:
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   23               (RJN Exh. A § 6.2).
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   27                                      (See generally RJN Exh. A). In addition,
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    1
    2 (See id. §§ 6.3-6.4).
    3               Netlist attempts to read a supply obligation into the JDLA that does not exist
    4 on the face of the contract, and for that purpose alleges irrelevant and incoherent
    5 supply-related facts. (Dkt. No. 18-2 ¶¶ 11-12). The FAC is self-contradictory and
    6 unclear as to when the purported failure to supply occurred. Netlist alleges that “in
    7 2018, Samsung began not to fulfill Netlist’s requests or Orders.” (Id. ¶ 12).
    8 However, Netlist also alleges that the failure to supply                    began in June
    9 2017, and “continue[s] to this day[,]” (Id. ¶ 27). Despite this conclusory allegation
   10 of continuing breach, Netlist does not allege facts indicating that it was
   11 undersupplied at any time other than 2018. 4
   12               C.    Netlist’s Second Breach of Contract Claim
   13               Netlist also claims that Samsung breached the JDLA by
   14                                                                              owed to Netlist.
   15 Sections 3.1 and 3.2 of the JDLA provide, in relevant part, as follows:
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            Netlist also claims that it has lost business opportunities, and that it paid higher
   25   prices for smaller volumes of NAND and DRAM products on the secondary market
   26   due to Samsung’s conduct. (Dkt. No. 18-2 ¶ 14). However, other than that
        conclusory statement, it offers no information as to what business opportunities
   27   were lost, or why the failure to obtain products from Samsung – only one of many
   28   sellers in the market – would have resulted in higher prices for Netlist.
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    7               (RJN Exh. A §§ 3.1-3.2) (emphasis added).
    8               Netlist alleges that Samsung withheld                           and paid it to the
    9 “Korean tax authority” “shortly after entering the agreement” in November 2015.
   10 ((Dkt. No. 18-2 ¶ 16)). Netlist claims, ipse dixit, that “on information and belief” the
   11 payment was not taxable, and that the withholding came as a “surprise” because it
   12 “had understood that the amount would not be taxed in Korea under the applicable
   13 law.” (Id.) Aside from this unsupported legal conclusion, Netlist pleads nothing on
   14 how the withholding supposedly violated Korean law.
   15               In addition, Netlist claims that Samsung breached the obligation to
   16                                              in Section 3.2 by notifying Netlist that the tax
   17 withholding was proper, “delay[ing] or declin[ing]” to provide cooperation, and not
   18 being “forthcoming to Netlist regarding what it has done or could do to help.” (Id. ¶
   19 17). Aside from these general statements, which do little more than restate the
   20 contractual language in a conclusory manner, Netlist provides no explanation of
   21 how Samsung failed to reasonably cooperate. (Id. ¶ 32). Netlist does not allege that
   22 it ever informed Samsung that it considered either the withholding or the purported
   23 lack of cooperation to be a material breach, or that it attempted to terminate the
   24 JDLA on that basis, at any time in the intervening six years.
   25               D.    Netlist’s Declaratory Relief Claim
   26               Netlist’s third claim requests declaratory relief that it properly terminated the
   27 JDLA. Section 13.2 of the JDLA provides, in relevant part, as follows:
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    4         (RJN Exh. A § 13.2) (emphasis added). Netlist alleges that it notified
    5 Samsung of the purported material breaches of the JDLA on May 27, 2020 (Dkt.
    6 No. 18-2 ¶ 19) 5 – over two years after the purported failure to supply
    7 and nearly five years after the tax withholding. Netlist makes no allegation that it
    8 raised its supply issues with Samsung at any point in the intervening years, or that it
    9 ever communicated to Samsung its position that the tax withholding was a breach of
   10 contract. Indeed, Netlist’s lack of genuine interest in these issues – other than as a
   11 pretextual basis for litigation and unlawful termination of the JDLA – is evident
   12 from the timing of its filing: on May 28, 2020, the day after its purported notice of
   13 breach and just one day into the          cure period triggered under Section 13.2 of
   14 the JDLA, Netlist filed its complaint without offering Samsung any opportunity to
   15 cure. Netlist alleges that, on July 15, 2020, after the cure period for the purported
   16 material breaches had passed, it sent Samsung a purported notice of termination. (Id.
   17 ¶ 22). Based on the purported breaches, Netlist seeks a determination that the JDLA
   18 is terminated as of July 20, 2020. (Id. ¶ 41).
   19 III.    ARGUMENT
   20         A.    LEGAL STANDARD
   21         “After the pleadings are closed—but early enough not to delay trial—a party
   22 may move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). A motion for
   23 judgment on the pleadings is “functionally identical” to a motion to dismiss under
   24 Fed. R. Civ. P. 12(b), other than the time of filing. Dworkin v. Hustler Magazine
   25
   26   5
           While factual disputes are not ripe for adjudication in a motion for judgment on
   27 the pleadings, Samsung disagrees with Netlist’s contention that it served proper
   28 notice under the JDLA.
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    1 Inc., 867 F.2d 1188, 1192 (9th Cir. 1989). Thus, “[t]he standard applied [to the
    2 former] is essentially the same as that applied [to the latter].” Butler v. Resurgence
    3 Fin., LLC, 521 F. Supp. 2d 1093, 1095 (C.D. Cal. 2007).
    4               As with Rule 12(b) motions, courts may consider only the complaint, the
    5 answer, exhibits attached to the complaint, and matters subject to judicial notice
    6 when deciding a motion for judgment on the pleadings. Buraye v. Equifax, 625 F.
    7 Supp. 2d 894, 897 (C.D. Cal. 2008). The moving party will prevail if, when “taking
    8 all allegations in the pleading as true, [it is] entitled to judgment as a matter of law.”
    9 Knappenberger v. City of Phoenix, 566 F.3d 936, 939 (9th Cir. 2009) (internal
   10 quotation marks omitted); see also Heliotrope Gen., Inc. v. Ford Motor Co., 189
   11 F.3d 971, 978–79 (9th Cir. 1999) (same). The non-moving party, in turn, can only
   12 defeat the motion if its claims amount to more than “conclusory allegations and
   13 unwarranted inferences” Butler, 521 F. Supp. 2d at 1095; see also Sprewell v.
   14 Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001) (court need not accept as
   15 true “[conclusory allegations], unwarranted deductions of fact, or unreasonable
   16 inferences”). “A Rule 12(c) motion may thus be predicated on either (1) the lack of
   17 a cognizable legal theory, or (2) insufficient facts to support a cognizable legal
   18 claim.” Mays v. Wal-Mart Stores, Inc., 354 F. Supp. 3d 1136, 1141 (C.D. Cal.
   19 2019).
   20               B.    SAMSUNG IS ENTITLED TO JUDGMENT ON THE
   21                     PLEADINGS ON NETLIST’S FIRST BREACH OF CONTRACT
   22                     CLAIM BECAUSE THE JDLA CONTAINS NO SUPPLY
   23                     OBLIGATION.
   24                     1.    Contracts Must Be Interpreted According To Their Plain
   25                           Language
   26               Under New York law, 6 “[t]he proper interpretation of contract language may
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    1 be determined as a matter of law[.]” Hudson Iron Works, Inc. v. Beys Specialty
    2 Contracting, Inc., 262 A.D.2d 360, 362 (N.Y. App. Div. 1999). For purposes of
    3 interpretation, the court may consider the contractual text in its entirety, even when
    4 plaintiff includes only selective quotations in its complaint. Arnold Chevorlet LLC v.
    5 Tribune Co., 418 F. Supp. 2d 172, 191 (E.D.N.Y. 2006) (citing International
    6 Audiotext Network, Inc. v. American Tel. & Tel. Co., 62 F.3d 69, 72 (2d Cir. 1995)).
    7               “The primary objective in contract interpretation is to give effect to the intent
    8 of the contract parties as revealed by the language they chose to use.” Sayers v.
    9 Rochester Telephone Corp. Supplemental Management Pension Plan, 7 F.3d 1091,
   10 1094 (2d Cir. 1993) (internal quotations and citations omitted); see also Greenfield
   11 v. Philles Records, 98 N.Y.2d 562, 569 (N.Y. 2002) (“The best evidence of what
   12 parties to a written agreement intend is what they say in their writing”) (same).
   13 Thus, when the text of a contract is unambiguous, the mere assertion by one party
   14 that the contract actually means something different is not on its own sufficient to
   15 create ambiguity. Ruttenberg v. Davidge Data Sys. Corp., 215 A.D.2d 191, 193
   16 (N.Y. App. Div. 1995).
   17                     2.     Section 6.2 of the JDLA is Unambiguously
   18
   19               A contract is unambiguous when the terms “suggest more than one meaning
   20 when viewed objectively by a reasonably intelligent person who has examined the
   21 context of the entire integrated agreement and who is cognizant of the customs,
   22 practices, usages and terminology as generally understood in the particular trade or
   23 business.” Orchard Hill Master Fund Ltd. v. SBA Communications Corp., 830 F.3d
   24 152, 156 (2d Cir. 2016).
   25               Here, Section 6.2 provides only that
   26                                                                                  (RJN Exh. A
   27
   28                                     (RJN Exh. A § 14).
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    1 § 6.2).
    2                                                                     . A plain reading of the
    3 JDLA, therefore, demonstrates that Samsung has no obligation to supply a quantity
    4 of products to Netlist, or any products at all. Netlist asks the Court to write in a non-
    5 existing supply obligation into the JDLA based on nothing more than its own
    6 wishful thinking. See Vermont Teddy Bear, 1 N.Y.3d at 475 (“Courts may not by
    7 construction add or excise terms, nor distort the meaning of those used and thereby
    8 make a new contract for the parties under the guise of interpreting the writing”); see
    9 also Greenfield v. Philles Records, Inc., 98 N.Y.2d 562, 573 (N.Y. 2002) (“silence
   10 does not equate to contractual ambiguity.”)
   11               Samsung and Netlist are both sophisticated corporate actors. Both have
   12 extensive experience in the semiconductor industry, and are well-versed in the
   13 market conditions surrounding the sale and purchase of NAND and DRAM products
   14 – including the limited supply and frequent shortages. If Samsung and Netlist
   15 wanted to create an obligation to supply products, they knew exactly how to do so:
   16 by putting that explicitly in the text. They certainly would not have intended to
   17 create one by mere implication. See New Bank of New England, N.A. v. Toronto–
   18 Dominion Bank, 768 F. Supp. 1017, 1022 (S.D.N.Y.1991) (“an agreement among
   19 sophisticated parties . . . does not become ambiguous simply because one of the
   20 parties later asserts that it intended a different interpretation”).
   21                     3.    The JDLA Cannot Be A Requirements Contract, as
   22
   23               The FAC does not allege any specific quantity of product Samsung was
   24 required to provide, but instead argues that the phrase                    single-handedly
   25 transmutes the JDLA into a requirements contract, so that Samsung’s failure to
   26 satisfy any portion of any of Netlist’s requests or orders must necessarily constitute
   27 a breach.
   28               This argument fails as a matter of law, because the
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    1                                  . There can be no valid requirements contract without
    2 exclusivity. Corning Inc., 2007 WL 841780, at *6 (“[b]ecause section 2-306
    3 depends on exclusivity to determine the quantity, there can be no valid requirements
    4 contract without it.”); see also CSL Behring, LLC v. Bayer Healthcare, LLC, 2019
    5 WL 4451368 at *2 (D. Del. Sep. 17, 2019) (applying New York law, holding that
    6 under requirements contract, buyer must buy all of its requirements from a single
    7 exclusive seller.)
    8
    9      (RJN Exh. A § 6.4). Because it is not a requirements contract, as a matter of law
   10 Samsung had no obligation to provide more product to Netlist, which means
   11 Netlist’s first cause of action fails to state a claim for relief and should be dismissed.
   12                4.    Netlist is barred from recovering consequential damages
   13                      under the JDLA.
   14         “Under New York law, consequential damages are recoverable only if they
   15 were reasonably within the contemplation of the parties at the time the contract was
   16 made.” M Sports Productions v. Pay-Per-View Network, Inc., 1998 WL 19998, at *2
   17 (S.D.N.Y. Jan. 20, 1998). Thus, when the parties to a contract seek to bar recovery
   18 of consequential damages through explicit contractual terms, courts will routinely
   19 enforce those terms. See, e.g., International Gateway Exchange, LLC v. Western
   20 Union Financial Services, Inc., 333 F.Supp.2d 131, 149 (S.D.N.Y. 2004); DynCorp
   21 v. GTE Corp., 215 F.Supp.2d 308, 217-8 (S.D.N.Y. 2002). In particular, when a
   22 contract is negotiated between experienced commercial parties – as the JDLA is – a
   23 clause limiting consequential damages is not unconscionable, and is fully
   24 enforceable. Scott v. Palermo, 233 A.D.2d 869, 872 (N.Y. App. Div. 1998). On this
   25 basis, when an “[a]greement bars consequential damages on its face[,]” causes of
   26 action demanding consequential damages should be dismissed. See M Sports
   27 Productions, 1998 WL 19998, at *2 citing Suzy Phillips Originals, Inc. v. Coville,
   28 Inc., 939 F.Supp. 1012, 1017 (E.D.N.Y.1996).
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    1         The JDLA contains an explicit provision limiting each party’s liability for
    2
    3
    4
    5
    6                                                              (RJN Exh. A § 3.2)
    7 (capitalization in original, emphasis added). Not only did the parties – both of whom
    8 are highly sophisticated business entities – not reasonably contemplate recovery for
    9 consequential damages, they demonstrated their unmistakable intent to bar such
   10 recovery. Sayers, 7 F.3d at 1094 (“The primary objective in contract interpretation is
   11 to give effect to the intent of the contract parties as revealed by the language they
   12 chose to use.”) (emphasis added, internal quotations and citations omitted).
   13         In describing its alleged damages under the first breach of contract claim,
   14 Netlist states that “[it] could not supply its customers and lost business opportunities
   15 and profits it otherwise would have earned.” (Dkt. No. 18-2 ¶ 14). These are plainly
   16 consequential damages, explicitly carved out from recovery under the JDLA by the
   17 Parties. Thus, to the extent it seeks such consequential damages, Netlist’s first
   18 breach of contract claim should be dismissed. 7
   19         For these reasons, Samsung is entitled to judgment on the pleadings on
   20 Netlist’s first breach of contract claim.
   21
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   26      In the alternative, Samsung moves for the Court to strike any allegations seeking
      consequential damages from the FAC. Fed. R. Civ. P. 12(f) (“The court may strike
   27 from a pleading an insufficient defense or any redundant, immaterial, impertinent, or
   28 scandalous matter.”)
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    1         C.      SAMSUNG IS ENTITLED TO JUDGMENT ON THE
    2                 PLEADINGS ON NETLIST’S SECOND BREACH OF
    3                 CONTRACT CLAIM BECAUSE THE NETLIST FAILS TO
    4                 ALLEGE HOW THE TAX WITHHOLDING WAS UNLAWFUL
    5                 UNDER KOREAN LAW.
    6         Section 3.2 of the JDLA permits Samsung to
    7
    8                                   (RJN Exh. A § 3.2). Thus, in order to adequately
    9 plead a breach of Section 3.2, Netlist must allege a cognizable theory as to how
   10 Samsung’s            withholding violated Korean law. See Caltex Plastics, Inc. v.
   11 Lockheed Martin Corporation, 824 F.3d 1156, 1159 (9th Cir. 2016) (dismissal for
   12 failure to state a claim proper when complaint “fails to state a cognizable legal
   13 theory or fails to allege sufficient factual support for its legal theories”).
   14         The FAC alleges no such theory. Instead, it merely presents the unsupported
   15 legal conclusion that “on information and belief, the                payment to Netlist
   16 was not properly taxable in Korea.” (Dkt. No. 18-2 ¶ 16). There is no information
   17 whatsoever in the FAC that puts Samsung on notice of what Korean law Netlist
   18 alleges that it violated by withholding the          , and on what basis it may defend
   19 itself against such allegations. Therefore, Netlist’s second breach of contract claim
   20 is deficient on its face. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555
   21 (2007) (court is “not bound to accept as true a legal conclusion couched as a factual
   22 allegation”).
   23         Moreover, Netlist fails to allege a specific legal violation because one does
   24 not exist: an analysis of the relevant Korean law demonstrates that Samsung’s
   25 withholding was legal. When ruling on issues of foreign law, courts may “consider
   26 any relevant material or other source . . . whether or not submitted by a party or
   27 admissible under the Federal Rules of Evidence.” Fed. R. Civ. P. 44.1. Per this Rule,
   28 a foreign law issue is considered a question of law, and therefore should be
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    1 adjudicated in the context of the instant motion. See de Fontbrune v. Wofsy, 838
    2 F.3d 992, 995-96 (9th Cir. 2016) (“courts do not transgress the broad boundaries
    3 established by Rule 44.1 when considering foreign legal materials . . . at the
    4 pleading stage[.]” )
    5               Samsung’s withholding was lawful, as Korean law imposes tax liability on
    6 payments for the transfer of “patent rights . . . [or] information and know-how” paid
    7 to foreign corporations, so long as the rights, information, or know-how are used in
    8 Korea, or the payment itself is made in Korea. (RJN Exh. B art. 93, subpara. 8). The
    9 JDLA describes the                     payment as a “
   10        ” (Dkt. No. 18-2 ¶ 15). This indicates that the payment was made in exchange
   11 for Netlist’s engineering expertise, whether in the form of patent rights or non-
   12 patent “industrial, commercial, or scientific knowledge and experience.” (RJN Exh.
   13 B art. 93, subpara. 8). The payment was made in Korea (by Samsung), and the
   14 expertise was used in Korea (also by Samsung).
   15               Because Netlist is a U.S. corporation, their income tax for these payments is
   16 capped at 15%. 8 Added to this 15% is a 1.5% local government tax withholding
   17 mandated by Korean law, (RJN Exh. C. art. 103-13, para. 1), 9 for a total of 16.5% –
   18                                                  . (Dkt. No. 18-2 ¶ 18). Accordingly,
   19 Samsung’s                 withholding was lawful. As such, Samsung’s representation that
   20 it properly withheld taxes cannot constitute a “fail[ure] to reasonably cooperate with
   21 Netlist” as it sought a refund. (Dkt. No. 18-2 ¶ 17).
   22               Netlist’s other allegation that Samsung failed to “reasonably cooperate” is too
   23
        8
   24    Convention for the avoidance of double taxation and the prevention of fiscal
      evasion with respect to taxes on income and the encouragement of international
   25 trade and investment, U.S.–R.O.K., art. 14, para. 1, June 4, 1976, 30 U.S.T. 5253.
   26 9
         Jibangsaebeob [Local Tax Act], Act No. 17769, amended December 31, 2018,
   27 available at
   28 https://elaw.klri.re.kr/kor_service/lawView.do?hseq=50974&lang=ENG
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    1 vague and conclusory to support a claim. Netlist contends that Samsung “delayed”
    2 or “declined” to provide cooperation, and was not “forthcoming to Netlist regarding
    3 what it has done or could do to help.” (Dkt. No. 18-2 ¶ 17). This is little more than a
    4 conclusory restatement of the contractual language – in other words, Netlist is
    5 saying that Samsung failed to reasonably cooperate because it failed to reasonably
    6 cooperate. “[C]onclusory allegations are insufficient to support a claim for breach of
    7 contract.” Tae Hee Lee v. Toyota Motor Sales, U.S.A., Inc., 992 F. Supp. 2d 962,
    8 981 (C.D. Cal. 2014). Moreover, these allegations are rendered a nullity due to lack
    9 of actual damages. “[C]onclusory and vague allegations are not sufficient to
   10 establish . . . actual damages to support [a] breach of contract claim.” See Holly v.
   11 Alta Newport Hospital, Inc., 2020 WL 1853308, at *6 (C.D. Cal. Apr. 10, 2020).
   12 Here, Netlist offers no facts whatsoever that demonstrate that it was damaged
   13 specifically by any conduct by Samsung – reasonable or otherwise – that post-dates
   14 the initial withholding. Netlist does not, for example, allege that the lack of
   15 cooperation impeded its efforts to obtain a refund from Korean tax authorities in any
   16 way.
   17               Therefore, Samsung is entitled to judgment on the pleadings on Netlist’s
   18 second breach of contract claim.
   19               D.    SAMSUNG IS ENTITLED TO JUDGMENT ON THE
   20                     PLEADINGS ON NETLIST’S DECLARATORY RELIEF
   21                     CLAIM.
   22               The JDLA permits termination for cause only when a
   23
   24                                         (RJN Exh. A. § 13.2). As such, Netlist’s
   25 declaratory relief claim rises and falls with its two breach of contract claims. As
   26 both claims are invalid for the reasons discussed above, Netlist’s declaratory relief
   27 claim fails as well.
   28               Moreover, even assuming arguendo that Netlist properly alleges breach of
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    1 contract claims, it cannot terminate on that basis because it has long since elected an
    2 alternative remedy – to continue on with the JDLA. As of a matter of law,
    3 termination on the basis of material breaches “must be sought promptly.” Dun &
    4 Bradstreet Corp. v. Harpercollins Publishers, Inc., 872 F. Supp. 103, 110 (S.D.N.Y.
    5 1995). Thus, the doctrine of election dictates that a non-breaching party that chooses
    6 to continue with a contract despite the other party’s material breach waives its right
    7 to terminate. See, e.g., Calvin Klein Trademark Trust v. Wachner, 129 F. Supp. 2d
    8 254, 258 (S.D.N.Y.2001) (non-breaching party waived right to terminate by
    9 continuing to accept royalties); Bigda v. Fischbach Corp., 898 F. Supp. 1004, 1011–
   10 12 (S.D.N.Y.1995) (employee waived right to terminate by continuing to accept
   11 salary); ESPN, 76 F. Supp.2d at 391-92 (“allowing [non-breaching party] to now
   12 terminate the contract based on breaches that occurred almost two years ago
   13 would violate important principles of contract law[.]”) (internal quotations omitted)
   14 (emphasis added).
   15         Pursuant to Netlist’s own allegations in the FAC, the tax withholding
   16 occurred “shortly after entering the JDLA[,]” (Dkt. No. 18-2 ¶¶ 16) presumably in
   17 late 2015 or in early 2016 at the latest. Netlist claims that this was a material breach,
   18 yet it chose not to terminate the JDLA. Aside from two conclusory, unsupported
   19 allegations that Samsung’s breach of Section 6.2 continues to the present (Id. ¶ 13,
   20 27) – recitations so nakedly perfunctory that their inclusion itself betrays Netlist’s
   21 furtive attempt to make an end-run around the doctrine of election – Netlist’s
   22 allegations that Samsung failed to supply products are limited to the first quarter of
   23 2018. (Id. ¶ 12). According to Netlist, this was also a material breach. Yet again, it
   24 did not terminate.
   25         Having chosen to continue on with the JDLA – and to reap the resulting
   26 benefits – for years after the purported material breaches, Netlist cannot go back on
   27 its decision now in a belated effort to get out of its bargain. Accordingly, Samsung
   28 is entitled to judgment on the pleadings on Netlist’s declaratory judgment claim.
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    1         E.    THE FIRST AMENDED COMPLAINT SHOULD BE
    2               DISMISSED WITHOUT LEAVE TO AMEND.
    3         “Courts have discretion to grant leave to amend in conjunction with Rule
    4 12(c) motions[.]” Carmen v. S.F. Unified Sch. Dist., 982 F. Supp. 1396, 1401 (N.D.
    5 Cal. 1997), aff’d, 237 F.3d 1026 (9th Cir. 2001) (internal quotation marks omitted).
    6 While courts generally grant leave to amend freely “when justice so requires[,]”
    7 Fed. R. Civ. P. 15, “leave to amend is not to be granted automatically.” Jackson v.
    8 Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990). In particular, leave may be
    9 denied on the basis of “futility of amendment.” Leadsinger, Inc. v. BMG Music
   10 Publ’g, 512 F.3d 522, 532 (9th Cir. 2008) (quoting Foman v. Davis, 371 U.S. 178,
   11 182 (1962)). Amendment is futile when “the complaint [cannot] be saved by
   12 amendment.” Polich v. Burlington N., Inc., 942 F.2d 1467, 1472 (9th Cir.1991), and
   13 “futility alone can justify a court’s refusal to grant leave to amend.” Novak v. United
   14 States, 795 F.3d 1012, 1020 (9th Cir. 2015).
   15         Netlist has already had one opportunity to amend its complaint. See Rich v.
   16 Shrader, 823 F.3d 1205, 1209 (9th Cir. 2016) (district courts have “wide discretion
   17 in granting or refusing leave to amend after the first amendment”) (internal
   18 quotations omitted). Further amendment would be futile, as the text of the JDLA
   19 and the operation of the relevant Korean statutes are clear. No matter how many
   20 times Netlist amends its complaint, both of its contract claims are destined to fail as
   21 a matter of law: Netlist cannot alter the JDLA’s plain language, nor can it rewrite
   22 Korean tax statutes. See, e.g., Allen v. City of Beverly Hills, 911 F.2d 367, 374 (9th
   23 Cir. 1990) (denying leave to amend on basis that applicable statutes could not give
   24 rise to cause of action “no matter what facts are alleged”); Leadsinger, 512 F.3d at
   25 532 (amendment was futile because Plaintiff’s legal theory was plainly non-viable
   26 under Copyright Act).
   27         Netlist can allege no set of facts that would make their claims legally viable.
   28 Another opportunity to amend will accomplish nothing other than subjecting
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    1 Samsung to further prejudice as it will have to put its resources into yet again
    2 defending itself against the same doomed claims. Accordingly, the Court should
    3 grant judgment for Samsung without leave to amend.
    4 IV.           CONCLUSION
    5               For the foregoing reasons, Samsung respectfully requests that the Court grant
    6 judgment on the pleadings in its favor with regards to Netlist’s First Amended
    7 Complaint, in its entirety, and without leave to amend.
    8
    9 DATED: June 21, 2021                       Ekwan E. Rhow
                                                 Marc E. Masters
   10
                                                 Kate S. Shin
   11                                            Christopher J. Lee
                                                 Bird, Marella, Boxer, Wolpert, Nessim,
   12
                                                 Drooks, Lincenberg & Rhow, P.C.
   13
   14
   15                                            By:
   16                                                              Ekwan E. Rhow
                                                       Attorneys for Defendant Samsung
   17                                                  Electronics Co., Ltd.
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